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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               HUNTINGTON DIVISION

CHRISTOPHER FAIN; ZACHARY                             Civil Action No.
MARTELL; BRIAN MCNEMAR; SHAWN
ANDERSON a/k/a SHAUNTAE ANDERSON;
and LEANNE JAMES, individually and on                 FIRST AMENDED CLASS ACTION
                                                      COMPLAINT
behalf of all others similarly situated,
                                                      CIVIL ACTION NO. 3:20-cv-00740
                   Plaintiffs,
       V.
                                                      HON. ROBERT C. CHAMBERS, JUDGE

WILLIAM CROUCH, in his official capacity as
Cabinet Secretary of the West Virginia
Department of Health and Human Resources;
CYNTHIA BEANE, in her official capacity as
Commissioner for the West Virginia Bureau for
Medical Services; WEST VIRGINIA
DEPARTMENT OF HEALTH AND HUMAN
RESOURCES, BUREAU FOR MEDICAL
SERVICES; TED CHEATHAM, in his official
capacity as Director of the West Virginia Public
Employees Insurance Agency; and THE
HEALTH PLAN OF WEST VIRGINIA, INC.,

                  Defendants.


                                       INTRODUCTION

       1.      This case is about discrimination in health care and employment. Plaintiffs bring

this suit to challenge discrimination under West Virginia state health insurance plans that deprive

transgender people of essential, and sometimes life-saving, health care. These state health plans

facially, and categorically, exclude coverage for health care that transgender people require. The

exclusions in the state health plans described in paragraphs 63 and 66 use antiquated and

improper language, but their targeting of transgender people on explicitly sex-based terms is

unmistakable. The exclusions all categorically deny transgender people coverage for gender-




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